Case 1:16-cv-00646-AJT-IDD Document 32 Filed 09/02/16 Page 1 of 1 PageID# 141



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA

                                     Alexandria Division


TURNBULL GROUP, LLC                              )
Plaintiff,                                        )
                                                  )
v.                                                )
                                                  )           1:16cv00646 (AJT/IDD)
                                                  )
CARFAX, INC.                                       )
Defendants.                                       )



                                        JUDGMENT

       Pursuant to the order of this Court entered on September 2, 2016, and in accordance with
Federal Rule of Civil Procedure 58, JUDGMENT is hereby entered in favor of the Defendant,
CARFAX, INC. and against the Plaintiff, TURNBULL GROUP, LLC, d/b/a Turnbull Automotive.


September 2, 2016                             FERNANDO GALINDO
Date                                               Clerk

                                                 /s/ Janice L. Allen
                                                 (By) Deputy Clerk
